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                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF OKLAHOMA

PAYNE EXPLORATION CO.,           )
                                 )
     Plaintiff,                  )
                                 )
v.                               )    Case No. CIV-15-818-D
                                 )
TRIDENT STEEL CORP.;             )
COMMERCIAL METALS CO.;           )
And A-JU BESTEEL CO., LTD.,      )
                                 )
     Defendants.                 )
                DEFENDANT TRIDENT STEEL CORPORATION’S
          REPLY TO PLAINTIFF’S RESPONSE TO DEFENDANT’S
                 MOTION TO DISMISS AND BRIEF IN SUPPORT

       COME NOW the Defendant, Trident Steel Corporation (“Trident”), and for its

Reply to Plaintiff’s Response to Defendant Trident Steel Corp.’s Motion to Dismiss and

Brief in Support [Dkt. #17], states as follows:

I.     COUNT 4: NEGLIGENCE

       Even if the Court determines that Plaintiff’s arguments are sufficient to allow, at

this stage, a claim for negligence to proceed, Plaintiff still did not sufficiently plead a

negligence claim against Trident. The “Factual Background” allegations in Plaintiff’s

Complaint against Trident all relate to the claim of breach of contract asserted by

Plaintiff. Oklahoma law is clear that breach of contract and tort claims are separate and

distinct causes of action (even outside the line of cases previously set forth by Trident),

and both cannot be used to pursue recovery.

       Oklahoma law provides that a tort may arise in the course of the
       performance of a contract and that tort may then be the basis for recovery
       even though it is the contract that creates the relationship between the
       parties. See Hall Jones Oil Corp. v. Claro, 459 P.2d 858, 861 (Okla. 1969).
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           Conduct that is merely a breach of contract is, of course, not a tort.
           Nevertheless, a tort may arise in the course of the performance
           under a contract so that a breach of the contract may not be the
           gravamen of the action, but an intentional wrong may be. The
           contract in such case is the mere incident creating the relation
           furnishing the occasion for the tort and giving rise to an action ex
           delicto . . . . [It] is well established that, where a breach of contract
           is permeated with tort, the injured person may elect to waive the
           contract and recover in tort; or, differently stated, although the
           relation between the parties may have been established by contract,
           express or implied, if the law imposes certain duties because of the
           existence of that relation, the contract obligation may be waived
           and an action in tort maintained for the violation of such imposed
           duties.

       Id. at 861-62 (citations omitted) (emphasis supplied).

Woolard v. JLG Indus., 210 F.3d 1158, 1168-69 (10th Cir. Okla. 2000). Plaintiff’s

allegations in the Complaint focus on a breach of contract claim and fail to identify the

factual allegations supporting a negligence claim. While Plaintiff may be able to plead

alternative theories, it is still required to set forth allegations which, if true, support each

cause of action against Trident.

       Under its cause of action for negligence, Plaintiff simply recites the basic elements

of a negligence cause of action, asserting those against all Defendants together. When a

review of the “Factual Background” is done, the allegations against Trident relate to

breach of contract. More is required to put Trident on notice as to the factual allegations

forming the basis for Plaintiff’s claim of negligence against Trident.           Accordingly,

Plaintiff’s Count 4: Negligence should be dismissed as to Trident.



II.    COUNT 6: CONSTRUCTIVE FRAUD

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        Plaintiff argues that in Smith v. Johnson, the court affirmed a judgment arising in

tort. However, before doing so the Court clarified that “[a]s to the fraud position, the

remedy of a finished product not conforming to the contract is non-performance and not

one based on fraud. Nor was there any evidence alleged to go the jury in the present case

upon which an award for damages resulting from fraud could have been based. We find

no tort action based upon fraud nor evidence of fraud upon which the jury could have

allowed the actual damages determined of $432.25.” Smith, 1978 OK 142, ¶ 9. Fraud

was not an allowable claim. In Smith, the Court determined that plaintiff had a choice of

remedies and he waived his contract cause of action and proceeded in tort. Again,

contract and tort remedies could not both be pursued. The Court reviewed the facts and

found that a duty existed making the tort cause of action proper under the facts of the

case.

        With regarding to the adequacy of Plaintiff’s pleading, Plaintiff has failed to

provide the specificity required for the alleged misrepresentation. “When the alleged

fraud is based on affirmative misrepresentations, those statements must be specified in

detail, including the date, speaker and medium of communication.” Radian Asset Assur.,

Inc. v. College of the Christian Bros. of N.M., 2011 U.S. Dist. LEXIS 14437 (D.N.M.

Jan. 24, 2011) (unpublished), Exhibit 1. Plaintiff has simply stated “Trident through its

agents” “throughout the parties’ transaction” made misrepresentations. This does not

provide the detail required by FED. R. CIV. P. 9(b).




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      Courts considering similar broad statements aimed at pleading fraud, has found

that generalized statements are insufficient to meet the requirement of time, place, and

contents of alleged misrepresentations.

      Although Navegante appears to have alleged facts throughout the proposed
      First Amended Complaint about who made fraudulent statements, or about
      when a fraudulent statement was made, or what the contents of the
      fraudulent statement were, Navegante fails to eventually connect all the
      dots and thus state with particularity the who, what, where and when of the
      alleged fraud. Without this necessary information, the Court must conclude
      that Navegante did not comply with Fed. R. Civ. P. 9(b), which requires a
      complaint containing allegations of fraud to "set forth the time, place and
      contents of the false representation, the identity of the party making the
      false statements and the consequences thereof."

Butler Nat'l Serv. Corp. v. Navegante Group, Inc., 2010 U.S. Dist. LEXIS 113001 (D.

Kan. Oct. 22, 2010) (unpublished), Exhibit 2.

      While plaintiff has sufficiently alleged the contents of the false
      representations and consequences thereof, it has not sufficiently articulated
      the circumstances surrounding the misrepresentations. See Plastic Pkg.
      Corp. v. Sun Chem. Corp., 136 F. Supp. 2d 1201, 1204 (D. Kan. 2001). For
      instance, plaintiff's statement that defendants made "ongoing"
      representations between 1982 and 1988 does not alert defendants to a
      sufficiently precise time frame under Rule 9(b). See Koch v. Koch Ind.,
      Inc., 203 F.3d 1202, 1237 (10th Cir. 2000) (statement that defendants made
      misrepresentations from 1982 to present insufficient). . . . Thus plaintiff has
      failed to plead fraud with sufficient particularity under Rule 9(b) and the
      Court sustains defendants' motion to dismiss Count VII.

Full Faith Church of Love West, Inc. v. Hoover Treated Wood Prods., 224 F. Supp. 2d

1285 (D. Kan. 2002).

      Plaintiff’s efforts to sufficiently plead its fraud claim are inadequate, and Court 6:

Fraud should be dismissed.

      WHEREFORE, premises considered, Defendant Trident Steel Corporation again

requests the Court dismiss Plaintiff Payne Exploration Co.’s Complaint, Claim 4:
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Negligence and Claim 6: Constructive Fraud as they relate to Trident, and for such other

and further relief that the Court deems just and equitable.


                                          Respectfully submitted,


                                   By     _/s/ Theresa N. Hill __________________
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                            CERTIFICATE OF SERVICE

       I certify that on the 30th day of September, 2015, I electronically transmitted the
attached document to the Clerk of the Court using the ECF System for filing and
transmittal of a Notice of Electronic Filing to the following ECF registrants:

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                                         /s/ Theresa N. Hill
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